   Case 2:15-cv-03725-JFW-RAO Document 21 Filed 06/17/15 Page 1 of 1 Page ID #:112


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

CASE NO.: CV 14-5499-RGK(PJWx)                                                 Date: June 17, 2015
CASE NO.: CV 15-3725-JFW(RAOx)

TITLE:      Linda Lam v. Cathay Bank, et al.
            Linda Lam v. Cathay Bank

===========================================================================
PRESENT:
                          HON. PATRICK J. WALSH, JUDGE
          Isabel Martinez                              CS 6/17/15
           Deputy Clerk                                Court Smart

ATTORNEYS PRESENT FOR PLAINTIFFS:                ATTORNEYS PRESENT FOR DEFENDANTS:

             Pamela Tsao                                 Jeffrey Scott Ranen
                                                         Victoria Lin

PROCEEDINGS: Settlement Conference

The case is called and appearances are made. The parties reach a complete settlement of the
case. Stipulation of Dismissal will be filed the week of June 22, 2015.




                                                                                        4:00


MINUTES FORM 90                                                          Initials of Deputy Clerk IM
CIVIL -- GEN
